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 5                               UNITED STATES DISTRICT COURT
 6                                      DISTRICT OF NEVADA
 7
 8   UNITED STATES OF AMERICA,                 )
                                               )
 9                      Plaintiff,             )                Case No. 2:14-cr-00006-APG-GWF
                                               )
10   vs.                                       )                ORDER
                                               )
11   JAMES I. “ASSI” JARIV, and NATHAN “NATI” )
     STOLIAR, aka NATAN STOLIAR,               )
12                                             )
                        Defendants.            )
13   __________________________________________)
14          This matter is before the Court on the Motion of Tim Johnson and Nicolas P. Dickerson, of
15   the law firm Locke Lord LLP, and Greg Brower and Craig S. Denney, of the law firm Snell &
16   Wilmer, L.L.P., to Withdraw as Counsel for Defendant James I. “Assi” Jariv (#239), filed on
17   September 15, 2015.
18          Counsel represents that they have fulfilled their obligations to the Defendant, who was
19   sentenced on August 18, 2015. See Judgment (#237). Counsel represents that there are no
20   outstanding issues and no pending matters in this action. Good cause appearing, the motion will be
21   granted. Accordingly,
22          IT IS HEREBY ORDERED that the Motion of Tim Johnson and Nicolas P. Dickerson, of
23   the law firm Locke Lord LLP, and Greg Brower and Craig S. Denney, of the law firm Snell &
24   Wilmer, L.L.P., to Withdraw as Counsel for Defendant James I. “Assi” Jariv (#239) is granted.
25          DATED this 16th day of September, 2015.
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                                                 GEORGE FOLEY, JR.
28                                               United States Magistrate Judge
